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 6                                      UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN MARIANA ISLANDS
 7
                                            BANKRUPTCY DIVISION
 8
     MOHAMMAD KAMAL HOSSAIN,                              Civil Action No. 08-0016
 9
                               Plaintiff,
10                                                        MOTION TO WITHDRAW AS COUNSEL OF
     v.                                                   RECORD FOR PLAINTIFF
11
     COMMONWEALTH OF THE
12
     NORTHERN MARIANA ISLANDS, et al.,
13                                                        Date and Time:       December 18, 2008, 9:00 a.m.
                               Defendants.                Judge:               The Honorable Alex R. Munson
14
             Pursuant to LR 83.5(g)(4), Micronesian Legal Services Corporation moves this Court for leave
15

16   to withdraw as counsel of record for Plaintiff Mohammad Kamal Hossain. In support of this motion,

17   declarations of counsel and Plaintiff are attached hereto.
18                                                                        MICRONESIAN LEGAL SERVICES CORP.
19

20                   Dated:          November 21, 2008
                                                                                          By Omar P. Calimbas
21                                                                                        MLSC Staff Attorney
     I hereby certify that on this date, a true and correct copy of the
22   foregoing and any attachments thereto were served via mail to:
            Mohammad Kamal Hossain
23          P.O. Box 503634, Saipan, MP 96950
24

25   By:                                       November 21, 2008
                  Omar P. Calimbas                  Date
